902 F.2d 1564Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Carl T. BANKS, Plaintiff-Appellant,v.Lieutenant WIGFIELD;  Lieutenant Sowers;  Lieutenant Barr;Lieutenant Houch, Defendants-Appellees.
    No. 89-7862.
    United States Court of Appeals, Fourth Circuit.
    Submitted Feb. 20, 1990.Decided April 26, 1990.
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.  Paul V. Niemeyer, District Judge.  (C/A No. 87-2943-PN)
      Carl T. Banks, appellant pro se.
      Stephanie Judith Lane-Weber, Assistant Attorney General, Baltimore, Md., for Appellee.
      D.Md.
      AFFIRMED.
      Before PHILLIPS, MURNAGHAN and CHAPMAN, Circuit Judges.
      PER CURIAM:
    
    
      1
      Carl T. Banks appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion accepting the recommendation of the magistrate discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Banks v. Wigfield, C/A No. 87-2943-PN (D.Md. Nov. 20, 1989).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    